                       IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF TEXAS
                                MCALLEN DIVISION

FREDERICO FLORES, MARIA GUERRERO,                     §
and VICENTE GUERRERO,                                 §
           Plaintiffs,                                §
                                                      §
v.                                                    §
                                                      §       Civil Case No. 7:18-cv-00113
THE TEXAS SECRETARY OF STATE, and                     §
ARMANDINA MARTINEZ, ALMA                              §
GARCIA, ALICIA DOUGHERTY NO. 1,                       §
ALICIA COUGHERTY NO. 2, YOLANDA                       §
MARTINEZ,                                             §
           Defendants                                 §


     DEFENDANTS MARTINEZ, GARCIA, DOUGHERTY NO. 1, DOUGHERTY NO. 2
      AND MARTINEZ’S MOTION TO DISMISS PLAINTIFFS’ SECOND AMENDED
            COMPLAINT AND MOTION FOR SUMMARY JUDGMENT




TO THE HONORABLE DISTRICT COURT JUDGE RICARDO H. HINOJOSA

        I.     Introduction

        Plaintiffs Frederico Flores, Maria Guerrero, and Vincente Guerrero, have sued the Texas

Secretary of State and the members of the Starr County’s Early Voting Ballot Board (“EVBB”)

for violating their rights as mail-ballot participants. See Dkt. 58 (Plaintiffs’ Second Amended

Complaint) In their complaint, the Plaintiffs allege that Texas’ longstanding mail-ballot

acceptance law violates the equal protection clause of the U.S. Constitution because Texas law

does not allow rejected mail-ballot voters to cure the deficiencies in their votes and that there are

no uniform standards applied to the acceptance and rejection of mail-in ballots. Id. They further

allege that the manner in which the EVBB Defendants administered the acceptance and rejection



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of mail-in ballots in the Starr County Democratic Primary violated their rights. Dkt. 58, ¶¶ 56-59.

All of these counts must be dismissed.

       First, the Plaintiffs do not have standing. Frederico Flores’ ballot could not counted

because his ballot was illegally harvested by a campaign worker. Whether or not the law relating

to mail-in ballots violates his constitutional rights is of no consequence, his vote should not have

been counted and, therefore, he has not been injured. Even if, his ballot could be accepted, Mr.

Flores does not have standing to seek prospective injunctive relief as he does not intend to vote

by mail ever again. Additionally, Mr. Flores admits that his signature on the carrier envelope of

his mail ballot does not match the signature on his mail ballot application. If the signatures do

not match, the EVBB defendants did not violate his rights and his ballot was properly rejected

under Texas law.

       Likewise, the Guerreros also do not have standing to receive the extraordinary remedy of

prospective injunctive relief. In their depositions, the Guerreros admitted that they will never

vote by mail again. Also, in their depositions the Guerreros admit that the signatures on their

mail-ballot applications do not match the signature on their mail-ballot carrier envelopes. Their

ballots were properly rejected by the EVBB.

       At all times, the EVBB acted in accordance with Texas law. The EVBB did not apply

illegal standards or procedures that violated the rights of the plaintiffs. Plaintiffs have not been

injured by the actions of the EVBB and their causes of action must be dismissed.

       II.     The Plaintiffs have failed to State a Claim for which Relief may be Granted

               A.      Legal Standards for Federal Rule of Procedure 12 (b) 6




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       The United States Constitution limits the jurisdiction of the federal courts to “Cases” or

“Controversies.” U.S. CONST., Art. III, § 2; Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547

(2016) (quoting U.S. CONST., Art. III, §§ 1, 2). Standing to sue, a doctrine rooted in the

traditional understanding of a case or controversy, serves to “confine[] the federal courts to a

properly judicial role.” Id. “As the part[y] invoking jurisdiction,” Plaintiffs bears the “burden of

establishing standing.” Texas v. U.S., 809 F.3d 134, 154-5 (5th Cir. 2015), as revised (Nov. 25,

2015), cert. granted, 136 S. Ct. 906 (2016).

       Under Federal Rules of Civil Procedure 12(b)(6), a purported cause of action may be

dismissed when the complaint fails to state a claim upon which relief can be granted. To survive

a motion to dismiss under Rule 12(b)(6), the complaint must meet two criteria: 1) it must assert a

plausible claim, and 2) it must set forth sufficient factual allegations to support the claim.

Ashcroft v. Iqbal, 129 S. Ct. at 1949-50. (citing Bell Atlantic Corp. v. Twombly, 550 U.S. 544

(2007)); see also Frith v. Guardian Ins. Co. of Am., 9 F. Supp. 2d 734, 737-38 (S.D. Tex. 1998).

(explaining that dismissal can be based on a lack of cognizable theory or the absence of

sufficient facts alleged under a cognizable legal theory).

       “A complaint must contain sufficient factual matter, accepted as true, to ‘state a claim to

relief that is plausible on its face’” Iqbal, 129 S. Ct. at 1949. A claim has facial plausibility when

the plaintiff pleads enough factual content that allows the court to draw the reasonable inference

that the defendant is liable under the alleged claim. Id. Even if the facts alleged are specific and

go beyond mere recitation of the elements of a cause of action, the facts must also “plausibly

suggest an entitlement to relief.” Id. at 1951.

       Plaintiffs must establish “(1) an injury in fact, (2) a sufficient causal connection between

the injury and the conduct complained of, and (3) and a likelihood that the injury will be


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redressed by a favorable decision.” Gill v. Whitford, 138 S. Ct. 1916, 1929 (2018). As described

by the Court: “[f]oremost among these requirements is injury in fact—a plaintiff’s pleading and

proof that he has suffered the “invasion of a legally protected interest” that is “concrete and

particularized,” i.e., which “affect [s] the plaintiff in a personal and individual way.”’ Id.

(quoting Lujan v. Defenders of Wildlife, 504 U. S. 555, 560 (1992).

        B.      Plaintiffs’ factual allegations concerning the EVBB are plainly insufficient

        The Plaintiffs devote only three paragraphs out of a 17 page complaint describing their

“as applied” challenge to the EVBB actions in rejecting or accepting ballots. The Plaintiffs

allege that “the Starr County EVBB exacerbated the constitutional infirmities in the March 2018

primaries by the particular manner in which it undertook review of the carrier envelopes.” Dkt.

58, ¶ 56. Further, “[t]he Starr County EVBB in the March 2018 primaries divided the 987 mail

ballot carrier envelopes they claim to have received into stacks for each individual EVBB

member to review, and each individual member decided whether to accept or reject a given

ballot in their stack.” Id. at ¶ 57. Finally, the plaintiffs allege that “the voters whose ballots were

cast in Starr County were subjected to unequal treatment within the EVBB itself, as the standards

of review applied by each member of the board inarguably varied.”

        These paragraphs are the only factual underpinnings of the Plaintiff’s “as applied”

challenge relating to the actions of the EVBB. These allegations are conclusory statements

completely devoid of any description of the actions taken by the EVBB defendants that caused

the specific injury experienced by the defendants. The allegations are vague and without

substance. There are no factual allegations that would aid the Court in its understanding of the

Plaintiffs’ claims. These allegations are mere threadbare restatements of the elements of unequal

protection. Taken as true, the allegations paint a picture of the EVBB Defendants as no different

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than any other multi-member deliberative body. The vague assertion that the standard of review

“inarguably varied” between members of the EVBB cannot solely prove up an “as applied” equal

protection claim. Small variations of interpretation between members of a multi-member board

cannot not give rise to unequal treatment or absurdity would surely follow. There must be stark

and cruel deviations from uniform procedure to justify the invalidation the actions of public

officers. This is why clarity and specificity are critical in factual allegations for “as applied”

challenges. These factual allegations also do not make a causal connection between the alleged

variation among EVBB defendants and the rejection of the mail-in ballots of the named

plaintiffs.1 Without this connection, there is no factual bridge between the actions of the

defendants and the injuries of the plaintiffs. Without these allegations, this Court is robbed of its

jurisdiction to consider this claims. See: Shaw v. Villanueva, 918 F. 3d 414, 417-19 (5th Cir.

2019) (“[N]aked allegations or legal conclusions masquerading as something more will not

thwart dismissal.”)

         C.       The New Plaintiffs still do not have Standing

         (i)      Frederico Flores

         The Second Amended Complaint alleges that Frederico Flores’ mail-in ballot was

wrongly rejected because of a signature mismatch. Dkt. 58, ¶ 41. Further, it alleges that he will

vote by mail in future elections. Id. at 42. Both of these claims are empirically disproven by the

Plaintiffs own testimony.

         Texas law prescribes the unauthorized harvesting of mail-in ballots. Generally, a mail- in

ballot may not be counted if the ballot was in possession of person other than the voter. Tex.


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 This is critical, as will be made plain from a careful review of the plaintiffs own statements concerning how each
characterizes the signatures on their mail ballot application and their carrier envelopes.

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Elec. Code § 86.006 (g). There are exceptions to the law for postal carriers, certain family

members, and for people living in the same household. See generally Tex. Elec. Code § 86.006

(f)(1-4). The statute is strict and does not require fraud. If a mail-in ballot is in the possession of

another, then it may not be counted. Frederico Flores’ ballot was harvested by a third-party. His

vote cannot count.

                 “Q. I want to -- you said a lot of information there, so I want to kind of
                 unpack some of that. Which election were you referring to there?
                  A. Well, I didn’t pay attention. I mean, I’ve always voted. I vote here
                 from the house all the time. They always bring me that form, but I don’t
                 remember which that one was.
                 Q. So when you say you vote by the house in the home, do you mean that
                 you vote by mail?
                 A. Either that or that person that brings me the form that picks it up
                 for me, and that person takes it.
                 Q. But it’s still a mail ballot, correct?
                 A. Yes.”
Frederico Flores Dep. 9:13-25, May 13, 2019. (emphasis added). Even if Mr. Flores’ mail-in

ballot was rejected improperly by EVBB defendants, there is no injury because his ballot could

not have been lawfully counted as it was illegally harvested. If his mail-in ballot was illegal, then

there is no injury.

        Further, Mr. Flores does not intend to vote by mail in future elections. (“Will you vote by

mail again? A. Well, I’m going to try to go in person this time.”). Flores Dep. 20:21-22, May 13,

2019. Mr. Flores makes it clear that no matter the future circumstances that he will not be voting

by mail. (Q. Well, I’m asking you if there’s nobody to take you to vote in person and -- would

you like to vote by mail in that instance? A. Well, no, I wouldn’t like to vote like that again. I

mean, there’s no reason why I wouldn’t be able to go and vote like that. It’s not that far, just to

that small house that’s there, unless you’re ill, but I’m fine -- if I’m fine, I can go in the car.

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Maybe I’ll buy a hamburger on the way back.”) Flores Dep. 25: 7-15, May 13, 2019. (emphasis

added). If Mr. Flores will not vote by mail in the future, then there is no “likelihood that the

injury will be redressed by a favorable decision.” Gill v. Whitford, 138 S. Ct. 1916, 1929 (2018).

        Mr. Flores’ cause of actions must be dismissed.

        (ii)    Maria & Vicente Guerrero

        The Guerreros’ ballots were also harvested by campaign workers. (See: M. Guerrero

dep., July 25, 2019, 18: 12-25, 19:1-2: Attachment No. 1)(“Q And so did Ms. Barrios and Ms.

Vela, did they take you ballot with them. A Yes.”) Although ballots may be in the possession of

another person, if that assistance is notated on the carrier envelope, the voter must qualify for

assistance or else the assistance is inappropriate. See Tex. Elec. Code §§ 86.006 (f)(4)(A)(B),

86.0051, 86.010. In order to allow a person other than the voter to be in possession of the ballot,

the voter must be eligible for assistance. Voters are only eligible for assistance if they are

disabled or do not read and write the language of the ballot. The Guerreros are not disabled. The

can read and write Spanish, which is one of the ballot languages. The Guerreros were not eligible

for assistance. Ballots cast by voters who receive inappropriate assistance may not be counted.

Tex. Elec. Code § 64.037. The Guerreros ballot could not have been counted by law. Therefore,

there is no injury in the rejection of their illegally cast votes.

        In addition, just like Mr. Flores, the Guerreros do not intend to vote by mail in future

elections. When asked if in future elections they would vote by mail both responded that they

would vote in person. See: M. Guerrero Dep. 19: 16-18 (“I’m going to go in person.”); V.

Guerrero Dep. 20:1-6 (“I’m not voting by mail, no.”)




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        III.    The EVBB Defendants are entitled to Qualified Immunity

        The EVBB defendants, herein assert that they are entitled to qualified immunity on all of

Plaintiff’s § 1983 claims against them in their individual capacities and, as such, move this

Honorable Court to dismiss Plaintiffs’ § 1983 claim against them on the ground that they are

entitled to qualified immunity. The doctrine of qualified immunity protects government officials

“from liability for civil damages insofar as their conduct does not violate clearly established

statutory or constitutional rights of which a reasonable person would have known.” Harlow v.

Fitzgerald, 457 U.S. 800, 818, 102 S.Ct. 2727, 73 L.Ed.2d 396 (1982).

        Because qualified immunity is “an immunity from suit rather than a mere defense to

liability ... it is effectively lost if a case is erroneously permitted to go to trial.” Mitchell v.

Forsyth, 472 U. S. 511, 526 (1985). It is the plaintiff's burden to overcome a defendants’

assertion of qualified immunity. Saldana v. Garza, 684 F.2d 1159, 1163 (5th Cir.1982), cert.

denied, 460 U.S. 1012, 103 S.Ct. 1253, 75 L.Ed.2d 481 (1983). In determining whether an

official is entitled to qualified immunity, two separate inquiries are conducted. The first is

whether the facts alleged show that the defendant's conduct violated a constitutional right.

Saucier v. Katz, 533 U.S. 194, 201, (2001), overruled in part by Pearson v. Callahan, 555 U.S.

223 (2009); Shaw v. Villanueva 918 F. 3d 414, 417 (5th Cir. 2019).. Additionally, it is important

to note in conducting this inquiry that to state a claim against a defendant sued in his individual

capacity, a plaintiff must satisfy a heightened pleading standard. Oliver v. Scott, 276 F.3d 736,

742 (5th Cir. 2002). The next inquiry is whether the right violated was clearly established at the

time. Shaw, 918 F. 3d at 417; Id. at 815–16.

        In addition, an official’s acts only violate clearly established law if “at the time of the

challenged conduct, the contours of a right are sufficiently clear that every reasonable official


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would have understood that what he is doing violates that right.” Ashcroft v. Al–Kidd, ––– U.S. –

–––, ––––, 131 S.Ct. 2074, 2083, 179 L.Ed.2d 1149 (2011) (internal quotation marks and

brackets omitted). Conversely, if a reasonable government official in a defendant’s position

would have believed that his conduct conformed to the constitutional standard in light of the

information available to him and the clearly established law, then that Defendant is entitled to

qualified immunity. Freeman v. Gore, 483 F.3d 404, 415 (5th Cir. 2007).

              Claims of qualified immunity may be raised in a Rule 12(b)(6) motion to dismiss.

Morales v. State of Louisiana, 74 F.3d 1236 (5th Cir. 1995). When evaluating a defendant's

qualified immunity defense within the context of a Rule 12(b)(6) motion, a district court must

first find “that the plaintiff's pleadings assert facts which, if true, would overcome the defense of

qualified immunity.” Backe v. LeBlanc, 691 F.3d 645, 648 (5th Cir.2012). Specifically, Plaintiff

must plead specific facts: (1) to allow the court to draw the reasonable inference the defendant is

liable for the harm alleged; and (2) which would defeat a qualified immunity defense. Id.

Furthermore, a plaintiff’s Section 1983 claim must establish that the alleged constitutional

deprivation was intentional or due to deliberate indifference and not merely the result of

negligence. Farmer v. Brennan, 511 U.S. 825, 828-29, 114 S.Ct. 1970, 128 L.Ed.2d 811 (1994).

       The Texas Election Code requires the EVBB to, among other things, do the following:

               (a) The early voting ballot board shall open each jacket envelope
               for an early voting ballot voted by mail and determine whether to
               accept the voter's ballot.

               (b) A ballot may be accepted only if:

                       (1) the carrier envelope certificate is properly executed;

                       (2) neither the voter's signature on the ballot
                       application nor the signature on the carrier envelope
                       certificate is determined to have been executed by a
                       person other than the voter, unless signed by a witness;

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Section 87.041, Texas Election Code.

        Thus the EVBB was required by Texas law to examine the mail-in ballots to determine

whether the voter’s signature on the ballot application and the carrier envelope matched. Nothing

in today’s jurisprudence suggests that requirement is unconstitutional.

        Nothing in Plaintiffs’ complaint establishes that the defendant's conduct violated a clearly

established constitutional right, much less that at the time of the challenged conduct, the contours

of a right are sufficiently clear that every reasonable official would have understood that what he

is doing violates that right.

        Moreover, the notion that individual members of the EVBB reviewed ballots

independently as alleged, was raised in the state court election challenge and reviewed by the

Texas 4th Court of Appeals. Galvan v. Vera, 2018 WL 4096383, at 5 (CA 04-18-00309, Court of

Appeals, San Antonio, Texas, August 29, 2018 no. pet.). On the allegation of the Plaintiffs with

regard to the EVBB, the State appellate court determined:

        “Finally, Galvan and Vela contend the trial court erred in failing to find the early
        voting ballot board’s failure to review the ballots as a board invalidates their
        decisions. Section 87.041(a) of the Election Code provides, “The early voting ballot
        board shall open each jacket envelope for an early voting ballot voted by mail and
        determine whether to accept the voter’s ballot.” TEX. ELEC. CODE ANN. §
        87.041(a) (Supp. 2017). Section 87.041 (b) lists the seven requirements that must
        be met in order to accept a ballot, and section 87.041(d) provides a ballot must be
        rejected if any requirement prescribed by subsection (b) is not satisfied. Id. §§
        87.041(b), 87.041(d). Nothing in the statute, however, dictates the procedures the
        board is required to follow in making its determination. In this case, individual
        board members reviewed the ballots for compliance with the requirements and
        consulted other board members with questions. Because the statute does not dictate
        a procedure the board must follow in making its decision to accept or reject a ballot,
        we hold the procedure used by the board did not invalidate the board’s decisions.”

        Thus, not only would a reasonable government official, like a member of the Starr

County EVBB, have believed that her conduct conformed to the constitutional standard in light



                                                 10
of the information available to her, the clearly established law under the laws of Texas as

determined by Texas courts found that her conduct was appropriate. Further, no intentional

constitutional injury could have been contemplated by the EVBB Defendants under the

circumstances alleged by the Plaintiff. The EVBB Defendants are entitled to qualified immunity.

       IV.     EVBB Defendants are entitled to Summary Judgment

       A. Legal Standards for a Motion for Summary Judgment

       “A party against whom relief is sought may move at any time, with or without supporting

affidavits, for summary judgment on all or part of the claim.” Fed. R. Civ. Proc. 56(b). A

summary judgment movant may either submit evidence that negates the existence of a material

element of the opponent’s claim on which the opponent has the burden of proof or may

demonstrate that there is insufficient or no evidence in the record that supports such claim.

Bourdeaux v. Swift Transp. Co. Inc., 402 F.3d 536, 540 (5th Cir. 2005); Lincoln General Ins. Co.

v. Reyna, 401 F.3d 347, 349 (5th Cir. 2005). An issue of fact is genuine “if the evidence is such

that a reasonable jury could return a verdict for the nonmoving party.” Anderson v. Liberty

Lobby, Inc., 477 U.S. 242, 248, 106 S.Ct. 2505, 91 L.Ed.2d 202 (1986). The mere existence of

some alleged factual dispute between the parties will not defeat an otherwise properly supported

motion for summary judgment. Anderson at 247-48. When the moving party has met its Rule

56(c) burden, the nonmoving party cannot survive a motion for summary judgment by resting on

the allegations of its pleadings. It must identify record evidence that support each element of its

claim. Johnson v. Deep E. Tex. Reg’l Narcotics Trafficking Task Force, 379 F.3d 293, 305 (5th

Cir. 2004). Rule 56 mandates the entry of summary judgment against a party who fails to, in

response to a motion for summary judgment, establish the existence of an essential element of

that party’s case. Beard v. Banks, 126 S. Ct. 2572, 2578 (2006).



                                                 11
          B. The Parties admit that there Signatures do not match

          The EVBB defendants were required to follow the law. “The [EVBB] may determine

whether to accept early voting ballots voted by mail in accordance with Section 87.041 at any

time after the ballots are delivered to the board.” Tex. Elec. Code § 87.0241(a). To accept a

voter, the EVBB “may be accepted only if … neither the voter's signature on the ballot

application nor the signature on the carrier envelope certificate is determined to have been

executed by a person other than the voter, unless signed by a witness.” Tex. Elec. Code 87.041.

The law is clear that if the signatures do not match, then the EVBB may not accept the mail-in

ballot.

          Every plaintiff has stated that the signatures on the mail-in ballot carrier envelope and the

mail-in ballot application do not match. To be clear, the plaintiffs are adamant that all of the

signatures are the voters. However, the plaintiffs are equally adamant that their signatures do not

match. Mr. Flores makes clear that his signature differs in several important ways:

          “Q. Mr. Flores, how were you notified that your ballot in the March 2018
          Democratic Primary was being rejected?
          A. Well, this person, Amalia, she brought me this and said that it had been
          rejected because of my signature. Not only mine. Several forms -- ballots had
          been rejected, and, I mean, that they were going to look into this and check. I
          mean, I agree because, I mean, I wasn’t signing the same way due to the
          condition on my hands.
          Q. So would you say that there’s a difference in your signature between the
          application and the carrier envelope?
          A. Well, I mean, for example, here on the F -- the F, I mean, I try to -- it
          could be that the F -- I slipped there, but, I mean, I try to sign the same way all
          the time, but I know that’s my handwriting.”


Flores Dep. 14:15-15:6, May 13, 2019.



                                                   12
         The Guerrero’s likewise admit that the signatures do not match. On Plaintiff

Maria Guerrero’s deposition exhibit # 1, Plaintiff’s signature on her mail ballot

application is plainly spelled out as “Guerro” in cursive. (Attachment No. 3, p. 2). On

page 3 of the exhibit is Ms. Guerrero’s signature on the carrier envelope for her mail in

ballot and it is signed in cursive as “Guerrero”. Ms. Guerrero admits that they are

different, but explains that on the application form she shortened her signature to avoid

writing over the “date”. (M. Guerrero Dep. Exh. 1, p. 1, #2)(Attachment No. 3) Yet, no

date was placed on the application. Nevertheless, the signatures are clearly different and

she admits that they are. (See M. Guerrero Dep. 10: 8-16) Similarly, on page one of

Vicente Gurerrero’s deposition exhibit he testified he signed “Guerrero” . (V. Guerrero

Dep. 11: 8-9) (Attachment No. 2) Yet, the signature on his mail-in ballot application the

signature affixed appears to be “Guerceo” in cursive and on his carrier envelope

“Gurruo” in cursive. (V. Guerrero, Dep., Exhibit 1). (Attachment No. 4) While the carrier

envelope indicates Mr. Guerrero was assisted by Barbara Barrios, he insisted that no one

helped him and he signed the documents himself. (V. Guerrero Dep. 11: 1-9).

(Attachment No. 2).

         The members of the EVBB, followed the Texas election law, reasonably

evaluated the signatures on Plaintiffs’ mail in ballot application with the signatures on the

mail in ballot carrier envelope, and by Plaintiffs’ own admission, determined they did not

match.

                                            V.        Conclusion

         For the foregoing reasons, the Plaintiffs cause of action should be dismissed.



                                                 13
DATED: July 29, 2019                               Respectfully,

                                                   By: /s/ Jose Garza

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                                CERTIFICATE OF SERVICE

      I certify that, on July 29, 2019, I filed the foregoing EVBB Defendants’ Motion to
 Dismiss with the Court’s ECF/CM system, which will serve a copy on all counsel of record.

                                            /s/ Jose Garza
                                           Jose Garza




                                             14
